
*Wirt then moved the consideration of the cause as a mere delay case.

Per Curiam.

It is not the practice to take up a cause out of its turn on the docket, as a delay case, if the counsel on the other side, say that in their opinion, there is error.
*377Attorney-General. The only point in the cause is this; There were two pleas; one, the general issue, the other, a special plea in bar, on which issue was joined. The Jury found a verdict generally for the plaintiff; and there was a particular fact growing out of the special plea, which was not found by the Jury. It is a well settled principle, that a Jury must answer to the whole case put in issue.(a) So, if there be several issues joined, the Jury must find upon them all, or it will be error.
Wirt. The Jury have substantially found both issues. There was, besides the general issue, a special plea, which was denied by the replication; and the Jury, having found generally for the plaintiff, falsified both pleas of the defendant.
The cause was taken up as a delay case, and the judgment of the District Court affirmed.

 Co. Lit. 227 a. See vol. 2. Hite's Heirs v. Wilson, &amp;c.

